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              UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION

UNITED STATES OF AMERICA             )
                                     )
                                     )
V.                                   )     Case No. CR408-315
                                     )
ANTONIO DAWON WOODLEY                )


                 REPORT AND RECOMMENDATION

      On May 5, 2009, the Court ordered a forensic psychological

examination of defendant Antonio Dawon Woodley in accordance with 18

U.S.C. § 4241(a) and (b) to assist the Court in determining whether

Woodley is presently suffering from a mental disease or defect rendering

him mentally incompetent to extent that he is unable to understand the

nature and consequences of the proceedings against him or to assist

properly in his defense.' (Doc. 543.) Pursuant to the Court's Order,

Woodley was transported to the Federal Correctional Institution in Fort

Worth, Texas, where he underwent a comprehensive psychological

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        The Court also directed the examiners to determine whether the defendant
was insane at the time of the charged offense. (Doe. 543.)
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evaluation. The forensic psychologists found that defendant was

competent to stand trial. (Doc. 752.)

      While defendant has declined to stipulate to the report's findings,

his counsel has conceded in a letter' that he has no evidence to present

on the issue. In addition, he has informed the Court that he does not

desire to cross-examine the experts who evaluated Woodley, and who

prepared the forensic report. Having had the opportunity to interact

with the defendant at an earlier hearing, the Court concurs with the

forensic report. Based upon that interaction and the unrebutted

psychological evidence, it is RECOMMENDED that defendant be found

competent to stand trial pursuant to 18 U.S.C. § 4241.

      SO REPORTED AND RECOMMENDED this 28th day of

October, 2009.

                                               sI G.R. SMITH
                                              UNITED STATES MAGISTRATE JUDGE
                                              SOUTHERN DISTRICT OF GEORGIA




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          The Clerk is DIRECTED to docket the letter as a filing in the record and to
attach it to the service copies of this Order.
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